               Case 2:16-cv-02266-JTM-GEB Document 25-2 Filed 09/02/16 Page 1 of 3



Jones, Joshua Steven

From:                             Jones, Joshua Steven
Sent:                             Wednesday, December 09, 2015 6:45 PM
To:                               Tackett, Daisy S
Cc:                               'dan@brownandcurry.com '
Subject:                          No Contact Directive
Attachments:                      12.9.1 John Doe G        No Contact Letter.pdf



Good Evening Daisy,

I have attached a copy of the No Contact Directive that I have been working on regarding Mr. John    Doe     lease let me
know if you have any questions. Please notify us of any violations of the no contact directive G
                                                                                               immediately if they should
occur.



Best,

Joshua S. Jones

Interim Director / Investigator
The Office of Institutional Opportunity and Access
Lawrence/Edwards Campus
Carruth-O'Leary Room 135
1246 West Campus Road
Lawrence, KS 66045
(785) 864-8063
(785) 864-0869 FAX
711 TTY
IOA@ku.edu




                                                             1
        Case 2:16-cv-02266-JTM-GEB Document 25-2 Filed 09/02/16 Page 2 of 3
                                                                                               r--
          THE UNIVERSITY OF


KU KANSAS Institutional
          Opportunity & Access


 CONFIDENTIAL

 December 9, 2015

 John Doe G
 John    &ku.edu
 Doe G
 Re: Complaint with the Office of Institutional Opportunity and Access (IOA)
       Complaint #15-087

 VIA ELECTRONIC MAIL

 Dear Mr. John Doe
              G
        We met on Wednesday, December 2, 2015 regarding a complaint of sexual assault
 made by Daisy Tackett. You were represented during that meeting by your attorneys Sarah
 Swain and Cooper Overstreet. As part of that conversation we discussed the University's
 policy prohibiting retaliation.

         On Friday, December 4, 2015, I received a report from Ms. Tackett that you were
 both in the same area on campus after one of her classes. According to Ms. Tackett, you
 and others with began calling to her saying 'What's up Daisy" in a mocking tone. According
 to Ms. Tackett, when she did not say anything in response, you turned to your friends and
 stated 'Whatever, I hate that Bitch anyway."

         These actions, if true, could be considered retaliation in violation of the Code of Student
 Rights and Responsibilities and the Nondiscrimination, Equal Opportunity, and Affirmative Action
 policy.

         As we discussed in our December 2nd meeting, the easiest way to avoid any
 allegations of retaliation is to avoid any contact with Ms. Tackett. Accordingly, at this time, I
 am giving you a 'no contact' directive with respect to Daisy Tackett. You are to refrain from
 contacting or attempting to contact Ms. Tackett, either personally or through any other
 person. This directive is not intended to preclude your attorneys from representing you in
 this matter.

        You are hereby informed that this 'no contact' order means that you understand you
 are prohibited from initiating, or contributing through third-parties, to any physical, verbal,
 electronic, or written communication with Daisy Tackett, her family, her friends or her

                                                                1L0047836.3
 Office of Institutional Opportunity and Access
 Carruth-O'Leary I 1246 West Campus Road, Room 153   I Lawrence, KS 66045-7521 I (785)864-6414 I Fax (785)864-8069 www. Ioa.ku.edu
      Case 2:16-cv-02266-JTM-GEB Document 25-2 Filed 09/02/16 Page 3 of 3




associates. This also includes a prohibition from interfering with her personal possessions.
The no contact directive remains in place until further notice from the Office of Institutional
Opportunity and Access. Moreover, I reiterate that retaliation against persons who may
pursue or participate in a University investigation, whether by you directly or by your
associates, is a violation of University policy.

       A violation of this directive could result in a recommendation for conduct
sanctioning; including, but not limited to, suspension and expulsion from the University.

       Please feel free to contact me if you have any additional questions. I can be reached
at (785)864-6414 or by email at joshjonesaku.edu .


Sincerely,



Joshua Jones
Interim Director

Cc: Lance Watson, Director of Student Conduct and Community Standards
      Diana Robertson, Director of KU Student Housing
      Sarah Swain, Attorney for John Doe G
      Cooper Overstreet, Attorney for John Doe G




                                                   )2
